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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION

  UNITED STATES OF AMERICA                       §
                                                 § 1:17CR154(8)
  v.                                             § Judge Marcia Crone
                                                 §
  JASON WRIGHT (8)                               §
                                                 §
                             FACTUAL BASIS AND STIPULATION

          The United States of America, presents to the Court, by and through the

  undersigned Assistant United States Atto ey in and for the Easte District of Texas,

 joined by the defendant, Jason Wright and the defendant's attorney Dustin Galmor, and

  presents this factual basis and stipulation in support of the defendant's plea of guilty to

  Counts One of the third superseding indictment, and in support thereof, would show the

  following:

       1. That the defendant hereby stipulates and agrees to the truth of all matters set forth

          in this factual basis and stipulation, and agrees that such admission may be used

          by the Court in support of his plea of guilty to:

          • Count One of the third superseding indictment, which charges a violation of 21

             U.S.C. § 846, conspiracy to possess with the intent to distribute a controlled

             substance, namely 280 grams or more of cocaine base a.k.a. crack cocaine;

 2. That the defendant, who is pleading guilty to such indictment, is one and the same

          person charged in the indictment.

 3. That the events described in the third superseding indictment occurred in the

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          Easte District of Texas and elsewhere.


  4. That had this matter proceeded to trial, the government, through the testimony of

          witnesses, including expert witnesses, and through admissible exhibits, would

          have proven, beyond a reasonable doubt, each and every essential element of the


          offense alleged in the third superseding indictment; specifically, the government

          would have proven the following stipulated facts:

               a. Since at least December 2012, Eric Paul Coleman had supervised,
                   managed and controlled a drug trafficking organization that distributed and
                   manufactured cocaine base a.k.a. crack cocaine in the Beaumont, Texas,
                   area. The Coleman DTO also distributed cocaine HCL that it received
                   from a supplier in Houston, Texas.

              b. As part of an agreement to distribute cocaine base in the Beaumont area,
                   Eric Paul Coleman organized and was the leader of the Coleman DTO.
                   As the leader of the Coleman DTO, Eric Paul Coleman supervised and
                   organized the following individuals: Minnie Coleman, Christopher
                   Dudley, Clayton Howard, Jordan Marshall, Arthur Jenkins, Patrice
                   Stoker, Jason Wright, Lee Roy Hills, and I y Chatman. The agreement
                   to distribute cocaine base and cocaine HCL was a jointly undertaken
                   criminal entei rise with all participants fully aware of the nature and the
                   scope of the Coleman DTO s cocaine base and cocaine HCL trafficking
                   activities. Each sale and agreement to sell any amount of cocaine base
                  and/or cocaine HCL was in furtherance of the Coleman DTO s drug
                  trafficking activities and was reasonably foreseeable to all members of the
                  Coleman DTO, including Jason Wri ht.

              c. Jason Wright was personally aware of, reasonably foresaw, and aided and
                  abetted the Coleman DTO s conspiracies to possess with the intent to
                  distribute 597 grams of cocaine base and 6 kilograms of cocaine HCL.

              d. Jason Wright routinely delivered cocaine base and cocaine HCL to
                  Coleman DTO customers on behalf or Eric Paul Coleman. When Eric
                  Paul Coleman was unavailable to delivery cocaine base and cocaine HCL
                  to customers, Jason Wright handled the transactions for Eric Paul
                  Coleman.



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              e. Some of the cocaine HCL was sold in its powder form. Eric Paul
                  Coleman, Minnie Coleman, Jordan Marshall, and Lee Roy Hills
                  assisted in converting the cocaine HCL received from Christopher Dudley
                  and Clayton Ho ard into cocaine base that the Coleman DTO distributed
                  in Beaumont, Te as. This was done at a home belonging to Minnie
                  Coleman at 3375 Paris Street in Beaumont. Eric Paul Coleman with
                  assistance from Jordan Marshall, Patrice Stoker, and Lee Roy Hills
                   caused cocaine HCL to be converted into cocaine base at homes Eric Paul
                   Coleman owned at 8520 Lawrence Drive, Beaumont, Texas, a.k.a. The
                   Field as well as 5795 Stanford Drive, where Eric Paul Coleman and
                   Patrice Stoker resided as of December 2017. Eric Paul Coleman owned
                   8520 Lawrence Drive for the purpose of manufacturing and distributing
                   cocaine base and cocaine HCL.



  DISTRIBUTION WITHIN 1000 FEET OF HOMER DRIVE ELEMENTARY

              f. On November 10, 2017, at Eric Paul Coleman s direction, Jason Wright
                  went into Coleman s residence at 5795 Stanford Drive. At Eric Paul
                  Coleman s direction, Jason Wri ht took 127 grams of cocaine HCL and
                  then left the property to distribute the cocaine HCL to a customer of the
                  Coleman DTO. This residence is within 1000 feet of Homer Drive
                   Elementary.




                  DEFENDANT'S SIGNATURE AND ACKNOWLEDGMENT

  5. I have read this factual basis and stipulation and the third superseding indictment

          or have had them read to me and have discussed them with my attorney. I fully

          understand the contents of this factual basis and stipulation and agree without

          reservation that the United States can prove each of these acts and that it

          accurately describes the events about my acts and the events as recited as I know


          them.




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      Dated:
                                                  JASOlf WRIGHT
                                                  Defendant

                 DEFENSE COUNSEL'S SIGNATURE AND ACKNOWLEDGMENT

      6. I have read this factual basis and stipulation and the second superseding

               indictment and have reviewed them with my client, Jason Wright. Based upon

               my discussions with the defendant, I am satisfied that the defendant understands

              the factual basis and stipulation as well as the indictment, and is knowingly and

              voluntarily agreeing to these stipulated facts.




     Dated:
                                                  DUSTIN GALMOR
                                                  Attorney for the Defendant



                                                  Respectfully submitted,

                                                  JOSEPH D. BROWN
                                                  UNITED STATES ATTORNEY



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